Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 1 of 24




          EXHIBIT 51
    Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 2 of 24


          Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 1 of 52



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


    DONNA CURLING, et al.,                     :
                                               :
         Plaintiffs,                           :
                                               :
    v.                                         :           CIVIL ACTION NO.
                                               :           1:17-cv-2989-AT
    BRAD RAFFENSPERGER, et al.,                :
                                               :
         Defendants.                           :



                                           ORDER

         During the pendency of this lawsuit and following the 2018 gubernatorial

general election, the Georgia Legislature enacted legislation requiring the

Secretary of State to implement a new voting system that includes a voter-

verifiable paper record. In addition to their original claims aimed at the State’s

former electronic voting machines, Plaintiffs’ newly amended claims challenge the

ballot marking device system chosen by the Secretary of State which tabulates

votes using an encrypted 2D barcode that Plaintiffs allege cannot be voter-verified.

The State Defendants’ Motion to Dismiss Curling Plaintiffs’ Third Amended

Complaint and Coalition Plaintiffs’ First Supplemental Complaint [Doc. 645] is

now pending before the Court. 1



1 After the Court granted Plaintiffs leave to file amended complaints, both the Coalition’s First
Supplemental Complaint (Doc. 628) and the Curling Plaintiffs’ Third Amended Complaint (Doc.
627) were filed on October 15, 2019.
 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 3 of 24


        Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 20 of 52



and general elections; (3) the Court also has prohibited the State’s use of “the

GEMS/DRE system in conducting elections after 2019;” and (4) the State has

decertified the DREs and has collected and stored them in a suitable facility in a

fiscally prudent manner for testing of a sample and future disposal per the parties’

agreement and the Court’s approval. 10 (See Consent Order on Storage of DREs,

Doc. 745) (addressing storage, testing of DRE memory cards and/or DRE Recap

Sheets for purposes of identifying a sample of DRE machines to evaluate for

assessment of electronic hacking/access issues in dispute).

       Defendants are correct that all of this precludes the possibility of the DRE

machines being used again in Georgia elections. 11 And the Court has indicated that

it does not intend to grant any further relief relating to the use of the old DRE

voting machines. But Plaintiffs’ original claims challenged elements of the voting

system beyond the DRE voting machines themselves. As highlighted extensively

in this Court’s prior orders, Plaintiffs’ claims encompassed the security of the

Secretary of State’s election technology infrastructure and the actual breach of the

Center for Election Systems (“CES”) servers, computer networks, and data and the

State’s electronic voter registration system and database. 12 These concerns were at


10 The Court recognizes that at the time this Order is being issued, both the 2020 Presidential

Preference Primary and Georgia’s Statewide Primary elections (pre-runoffs) have been conducted
on the BMD system and DREs are no longer being used for any elections.
11 At the time when Plaintiffs’ amended complaints were filed and these motions were being

briefed in 2019, DREs were still being used to conduct a small number of local elections and
runoffs.
12 Given the State’s strong desire to protect the total confidentiality of its central GEMS server,

the Court has authorized discovery of a sample of DRE voting machines, pursuant to Consent
Order, to allow Plaintiffs’ access to potentially relevant evidence in connection with these security,
breach, and data integrity claims.

                                                 20
 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 4 of 24


       Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 21 of 52



the center of the Court’s consideration in ordering relief in August 2019 and remain

a focus of this case even as the State implements the BMDs in connection with

multiple other components and the State’s main election system server. Plaintiffs

allege in their amended/supplemental complaints that elements of the former

system, including the voter registration database, will carry over into the new

election system. And as this Court noted in its August 15, 2019 Order:

      The voter registration database, containing millions of Georgia voters’
      personal identifying information, plays a vital role in the proper
      functioning of the voting system. Yet it has been open to access,
      alteration, and likely some degree of virus and malware infection for
      years, whether in connection with: CES/KSU’s handling of the system
      and data and failure to address these circumstances upon transfer of
      CES’s functions back to the SOS; failure to remediate the database,
      software and data system flaws and deficiencies; or exposure of the
      widespread access to passwords to the voter registration data system
      throughout the SOS, CES/KSU, the 159 counties, or the public via the
      virtual open portal maintained at CES/KSU. Most significantly, the
      programming and use of ballots in both the DRE and future Dominion
      BMD system is tied to the accuracy of voter precinct and address
      information. Inaccuracy in this voter information thus triggers
      obstacles in the voting process. New Dominion express poll machines
      bought as part of the new contract with Dominion cannot alone
      cleanse the voter database to be transferred and relied upon.

(August 15, 2019 Order, Doc. 579 at 88-89.)

      Defendants admit that the voter registration database (ENET), which is used

by county registrars to maintain and update voter registration records is not being

replaced and that information from this system will be loaded into the new

electronic pollbooks for each election. (Defs.’ Mot. at 11, n. 14; see also Dec. 6, 2019

Tr. at 11) (explaining that the ENET system “used to program ExpressPoll check-

in units for the GEMS/DRE system” is “not being replaced” and that “[t]he same


                                          21
     Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 5 of 24


         Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 22 of 52



database and same data, a flat text file, will be used to populate the Poll Pads”).

They contend that the information is not electronically transmitted, and therefore

cannot corrupt the new pollbook system, because only a flat text file from ENET

(that will be run through a security scan) will be loaded into the pollpads for use

during elections. Defendants offer nothing, however, to show that any action has

been taken in response to issues experienced by voters in November 2018 (and

prior elections or allegedly, during more recent elections) to ensure that the

information from ENET is reliable, accurate, and updated. Due to the volume of

evidence of voter issues at the polls detailed in the Court’s August 2019 Order,

Plaintiffs’ allegations that errors and deficiencies in the voter registration system

and database are likely to carry over into the new system and cause another round

of voter disenfranchisement are plausible and remain a material concern. And of

course, Defendants’ motion is not being decided in a vacuum. As the Court is aware

from the evidence presented in the context of the Plaintiffs’ prior preliminary

injunction motions, Defendants’ contentions that the other two voter registration

systems, the My Voter Page (MVP) and the Online Voter Registration system, do

not interface with ENET are challenged by Plaintiffs. Plaintiffs have offered

testimony of cybersecurity experts to rebut the State’s assertions. 13 Clearly, to the


13Plaintiffs presented evidence that the State’s technology failures (whether caused by malicious
interference, out of date software, or even human error by county registrars in failing to update
voter registration information) have resulted in voter disruption and have potentially been left
unremediated. Numerous declarations from voters highlighted instances where a voter’s
registration status on MVP, the “outward-facing system used to provide information to voters”
did not match the voter registration status in the electronic pollbooks used to check in voters at
the voting polls. At the December 6, 2019 hearing, counsel for the State explained it this way: “The
My Voter page is a snapshot of the ENet database at a particular point in time. So it is a read only.

                                                22
 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 6 of 24


         Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 23 of 52



extent that the Court views the MVP system as part of the Plaintiffs’ continuing

challenge, the State’s position on the MVP interface issue conflicts with this

evidence provided to date.

        Although O.C.G.A. § 21-2-221.2 (f) requires that “the Secretary of State shall

employ security measures to ensure the accuracy and integrity of voter registration

applications submitted electronically,” the Plaintiffs have demonstrated a detailed

account of the Secretary of State’s deficient security practices in Georgia’s pre-

2020 elections. The Court therefore required the State Defendants to develop

procedures and take other actions to address the significant deficiencies in the

voter registration database and the implementation of the ExpressPoll system.

        It is unclear what actions, if any, the State has undertaken to address these

deficiencies in the electronic pollbooks and MVP voter registration interface or

new versions of such in advance of June 2020 elections or the elections to be held

in August and November 2020.                   While the Court at this juncture has only

preliminary evidence in the record before it that addresses these claims in their

current form, the Court notes that alleged significant problems relating to the

express pollbooks were reported by the media during the June 2020 election cycle.

The Court makes no findings whatsoever based on this reporting, but simply finds



A voter can look up their information. But if they click to say I want to change something, they are
taken to the online voter registration system. That system will then send information to the county
registrars that they are then able to say we’re not going to put this in or will put this in. So it is not
like a voter is able to actively edit the ENet database themselves. They have to do that – all of those
systems will remain in place, the ENet system, the My Voter page, the online voter registration.
None of those systems are changing with the adoption of the new voting system for the election
process.” (December 6, 2019 Tr., Doc. 679 at 12-13.)

                                                   23
     Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 7 of 24


         Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 24 of 52



that given the body of evidence originally presented and presented in connection

with Plaintiffs’ newest amended complaints, the Plaintiffs’ claims relating to

continuing, critical deficiencies in the MVP and voter registration system and

electronic pollbooks are, at very least, plausible and not moot. Similarly, in the

absence of evidence of the Secretary of State’s progress or timeline for enactment

or measures to address Plaintiffs’ claims for relief regarding the deficiencies in the

voter registration database relied on as the foundation of the voting system, the

Court cannot find that these registration related claims are moot. See Fanin v.

United States Department of Veterans Affairs, 572 F.3d 868, 876 (11th Cir. 2009)

(finding that the plaintiff’s case was not moot because there was “a wide gulf

between the [defendant] being ‘in the process’ of implementing new procedures

and it having those new procedures fully in place”). Thus, the Court cannot say

that Plaintiffs’ allegations have an insufficient basis or are sheerly speculative given

this record.

        Accordingly, although the portion of Plaintiffs’ claims challenging the DRE

voting machines themselves may for all practical purposes be moot because the

DREs have been barred from use past 2019 as explained above, these other aspects

of Plaintiffs’ claims are not. 14 Nor would Plaintiffs’ claims relating to the handing


14 This Court has twice indicated its view that Plaintiffs’ original claims challenging the
constitutionality of the DRE/GEMS voting system were not moot as a result of the passage of Act
No. 24/H.B. 316. First, in April 2019 (and before the DREs were enjoined for use past 2019), the
Court noted that because the DREs were still being used for elections in 2019, the claims were still
very much alive at that time. Indeed, the Court ordered substantive preliminary injunctive relief
on those claims in its August 2019 Order. Second, the Court noted in November 2019 that “[w]hile
the Court finds that discovery relating to the DREs and GEMS systems is not necessary to the
Court’s resolution of the Plaintiffs’ claims based on the current posture of the case, the Court does

                                                24
 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 8 of 24


        Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 25 of 52



of security of the current voting system be moot to the extent that evidence is

introduced linking this to prior security issues and breaches.

       B.      Plaintiffs’ Claims Are Not Barred by Eleventh Amendment
               Immunity

       State Defendants have renewed their argument that Plaintiffs’ claims are

barred by the Eleventh Amendment. Implicitly recognizing the failure of their first

attempt at an Eleventh Amendment defense, Defendants assert that “Plaintiffs’

Complaints raise different Eleventh Amendment questions than those the Court

previously addressed.” (Mot., Doc. 645-1 at 15.) They argue that the Eleventh

Amendment bars claims in the amended/supplemental complaints because

Plaintiffs’ requested relief: (1) seeks redress of past harm; (2) is drastically

different and more comprehensive than before; and (3) impermissibly seeks

removal of the State’s constitutional authority to oversee the details of elections.

These are the exact arguments previously raised by the State in connection with

Plaintiffs’ claims challenging the DREs and rejected by both this Court and the

Eleventh Circuit on appeal.




not agree with the State Defendants’ characterization of Plaintiffs’ claims as being entirely moot.
The State has declined to concede that it will not seek to appeal the Court’s August 15, 2019
injunction order upon entry of a judgment in the case. The State has further declined to agree to
stipulate to the conversion of the Court’s order as a permanent injunction. As such, Plaintiffs’
claims challenging the DRE/GEMS election system are not legally moot.” (November 22, 2019
Ord., Doc. 668 at 2-3.)


                                               25
 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 9 of 24


        Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 26 of 52



       (i) Curling Plaintiffs’ claim for declaratory relief regarding DREs

       State Defendants assert that “in Counts I and II of their Amended

Complaint, Curling Plaintiffs still seek retrospective declaratory relief regarding

use of the ‘DRE Voting System’ in the ‘Relevant Previous Elections,’” and that the

Eleventh Amendment bars such claims for retrospective relief. (Mot., Doc. 645-1

at 16) (citing Pls.’ Third Am. Compl., Doc. 627 ¶¶ 98(a), 110, 112(a)). Defendants’

argument is misplaced, mischaracterizes Plaintiffs’ allegations in Counts I and II,

is contrary to the Eleventh Circuit’s decision on appeal, and ignores the aspects of

Plaintiffs’ claims that challenge elements of the voting system that persist despite

the passage of HB 316 as discussed above.

       First, the Curling Plaintiffs are not reasserting claims challenging the DREs.

Rather, the Curling Plaintiffs filed a Third Amended Complaint to add claims

challenging the BMDs to their existing claims from the Second Amended

Complaint. 15 While Plaintiffs have not omitted their prior allegations and claims

regarding the DREs, the Court does not view the Curling Plaintiffs’ retention of

these allegations that form the basis of relief already granted as seeking any new

or additional relief regarding the defunct DRE voting machines.

       Second, Defendants mischaracterize Plaintiffs’ allegations as seeking relief

related to past elections. When the Third Amended Complaint was filed, and when


15 Rather, the purpose of the  amended complaint was to “adds claims related to GA SOS’s proposed
implementation of a voting system relying on ballot-marking devices (“BMDs”) that produce a 2D
barcode scanned for tabulation, along with a written summary of a voter’s selections,” and to
“update[] the named defendants based on resignations and subsequent elections, and updates the
factual assertions to reflect the passage of time.” (Pls.’ Mot. for Leave, Doc. 581 at 2.)

                                              26
Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 10 of 24


        Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 27 of 52



Defendants filed their Motion to Dismiss, elections were still being conducted on

DREs, including a runoff in December 2019. Although the complaint details

deficiencies in the State’s DRE/GEMS voting system in prior elections that

resulted in alleged denial of the Plaintiffs’ constitutional rights that form the basis

of the claims, the complaint further alleges continuing violations as a result of the

State’s choice to continue using DREs in elections through the end of 2019 until

such time as the BMDs are fully implemented. Therefore, at the time it was filed

the Curling Plaintiffs’ claims in Counts I and II sought relief for future elections in

2019.

        Third, the State’s recycled arguments were already rejected by the Eleventh

Circuit in its decision on the State Defendants’ appeal of the denial of their earlier

motion to dismiss. The Eleventh Circuit held that Plaintiffs’ claims fell squarely

within the Ex parte Young exception to Eleventh Amendment immunity because

Plaintiffs alleged ongoing violations of federal law against the State Defendants in

their official capacities and sought only declaratory relief and an injunction against

enforcing the election system in future elections and that the State’s arguments to

the contrary ran “counter to the complaints’ allegations and settled precedent.”

Curling v. Secretary of Georgia, 761 F. App’x 927, 932 (11th Cir. 2019) (“Here,

there is no question that, like the plaintiffs in Grizzle, Plaintiffs seek only an

injunction barring the State Defendants from enforcing election rules that

allegedly violate Plaintiffs’ constitutional rights. Since they allege those rules will

violate their constitutional rights in the future, they have satisfied Ex parte Young’s


                                          27
Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 11 of 24


       Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 28 of 52



exception.”) (citing Grizzle v. Kemp, 634 F.3d 1314, 1317–19 (11th Cir. 2011)

(holding that claims of plaintiffs challenging constitutionality of a Georgia election

law by seeking to enjoin the Secretary of State and members of the State Election

Board from enforcing the law in upcoming elections the way they had in past

elections sought “prospective injunctive relief” and fell within the Ex parte Young

exception to Eleventh Amendment immunity).

      Most important, the Court has already granted the relief requested in the

form of a preliminary injunction and found that Plaintiffs had shown a substantial

likelihood of success on the merits of their claims that the State’s DRE/GEMS

voting system violated the constitutional rights of Plaintiffs and other Georgia

voters and has enjoined the use of DREs in elections after 2019. The State is not

immune from those claims just because they are based on evidence of past

wrongdoing and harm. The Eleventh Circuit rejected the State’s argument that

Plaintiffs only sought relief for past harms because “Plaintiffs seek to succeed in

showing the unreliability (and thus unconstitutionality) of the DRE machines in

past elections), explaining “Plaintiffs use these allegations only to show that past

is prologue to their future injuries caused by the same election system.” Id. (citing

Lynch v. Baxley, 744 F.2d 1452, 1456 (11th Cir. 1984) (“Past wrongs do constitute

evidence bearing on whether there is a real and immediate threat of repeated injury

which could be averted by the issuing of an injunction.”)).

      Defendants rely on Green v. Mansour to support their argument that they

are immune because that the State’s statutory changes have eliminated any alleged


                                         28
 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 12 of 24


         Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 29 of 52



ongoing violation of constitutional rights based on the DRE System. Green v.

Mansour, 474 U.S. 64, 68 (1985). 16 As explained above, because Plaintiffs’ claims

challenge as unconstitutional other aspects of the voting system (apart from the

DREs machines) that will allegedly continue and seek prospective relief in future

elections from such harm, these claims still fall within the Ex parte Young

exception. Therefore, Green is inapplicable. 17


16 In Green, the plaintiffs conceded on appeal that any claim they might have had for the specific
type of injunctive relief approved in Ex parte Young was rendered moot by the amendments to
the program under which plaintiffs sought benefits. They nevertheless sought “notice relief” and
and a declaration that the defendant’s prior conduct violated federal law, arguing that notice is an
independent form of prospective relief protected against the Eleventh Amendment bar by Ex
parte Young. 474 U.S. at 68. The Supreme Court held that “[b]ecause ‘notice relief’ is not the
type of remedy designed to prevent ongoing violations of federal law, the Eleventh Amendment
limitation on the Art. III power of federal courts prevents them from ordering it as an independent
form of relief.” Id. at 71. Therefore, “a request for a limited notice order will escape the Eleventh
Amendment bar if the notice is ancillary to the grant of some other appropriate relief that can be
‘noticed.’ Because there is no continuing violation of federal law to enjoin in this case, an
injunction is not available. Therefore, notice cannot be justified as a mere case-management
device that is ancillary to a judgment awarding valid prospective relief.” Id. at 72.
17 Defendants also incorrectly assert that Plaintiffs are seeking relief that would only indirectly

encourage compliance with federal law through deterrence which is “insufficient to overcome the
dictates of the Eleventh Amendment,” citing Fla. Ass’n of Rehabilitation Facilities, Inc. v. State
of Fla. Dep’t of Health and Rehabilitative Svcs., 225 F.3d 1208, 1219 (11th Cir. 2000). (See Defs.’
Mot. at 16). In that case, the Eleventh Circuit explained that “Plaintiffs’ suit originally fell within
the Ex parte Young exception. Their suit was directed against state officials in their official
capacities and asked for prospective injunctive relief to halt continuing violations of federal law.
Plaintiffs are not barred by the Eleventh Amendment from seeking enforcement, in a federal
court, of a federal statute which state agents have violated. Defendants, in fact, do not argue that
Plaintiffs’ suit was barred from the outset. Instead, they make a more focused argument that much
of the relief ordered by the district court is retrospective rather than prospective. They assert that,
to the extent the district court directed them to make changes to the State’s Boren-era
reimbursement plan retroactive to September 4, 1991, it essentially required them to redress
inequities in their past reimbursement payments from 1991 to the date of final judgment (April
1999), and potentially to reimburse Plaintiffs for those past deficiencies. We reluctantly agree.”
Id. at 1220. The Eleventh Circuit held that the Defendants were entitled to immunity because
although “the Eleventh Amendment does not generally prohibit suits against state officials in
federal court seeking only prospective injunctive or declaratory relief, but bars suits seeking
retrospective relief such as restitution or damages” and if “the prospective relief sought is
“measured in terms of a monetary loss resulting from a past breach of a legal duty,” it is the
functional equivalent of money damages and Ex parte Young does not apply.” Id. Plaintiffs’
claims here challenging the constitutionality of the State’s election system have nothing to do with
reimbursement or restitution for monetary damages. And Plaintiffs do not simply seek indirect

                                                 29
Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 13 of 24


       Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 35 of 52



      to the challenged action of the defendant; and it must be likely that a
      favorable judicial decision will prevent or redress the injury.

Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009) (citing Friends of Earth,

Inc. v. Laidlaw Environmental Services (TOC), Inc., 528 U.S. 167, 180–181

(2000). The requirement that a plaintiff demonstrate standing “assures that there

is a real need to exercise the power of judicial review in order to protect the

interests of the complaining party.” Id. (internal citations omitted).

      “Foremost among these requirements is injury in fact – a plaintiff’s pleading

and proof that he has suffered the invasion of a legally protected interest that is

concrete and particularized, i.e., which affects the plaintiff in a personal and

individual way.” Gill v. Whitford, --- U.S. ----, 138 S. Ct. 1916, 1929 (2018) (quoting

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560, and n. 1 (1992)) (internal

quotation marks omitted).       The Supreme Court has “long recognized that a

person’s right to vote is ‘individual and personal in nature.’” Gill, 138 S. Ct. at 1929

(quoting Reynolds v. Sims, 377 U.S. 533, 561 (1964)). “Thus, ‘voters who allege

facts showing disadvantage to themselves as individuals have standing to sue’ to

remedy that disadvantage.” Id. (quoting Baker v. Carr, 369 U.S. 186, 206 (1962)).

The Eleventh Circuit recently held in Jacobson v. Florida Sec’y of State that

although “voters have no judicially enforceable interest in the outcome of an

election,” they do “have an interest in their ability to vote and in their vote being

given the same weight as any other.” 957 F.3d 1193, 1202 (11th Cir. 2020)

(emphasis in original). “A plaintiff need not have the franchise wholly denied to



                                          35
Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 14 of 24


       Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 36 of 52



suffer injury. Any concrete, particularized, non-hypothetical injury to a legally

protected interest is sufficient.” Common Cause/Georgia v. Billups, 554 F.3d

1340, 1351–52 (11th Cir. 2009).

      At the pleading stage, the plaintiff is only required to provide “general

factual allegations of injury.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561

(1992). “[H]owever, those allegations must nevertheless contain sufficient detail

for the Court to determine that plaintiffs ‘have made factual averments sufficient,

if true, to demonstrate injury in fact.’” Summers, 555 U.S. at 493 (quoting Havens

Realty Corp. v. Coleman, 455 U.S. 363, 378 (1982) (“extreme generality” of

allegations insufficient to demonstrate standing)). In a case like this one, where a

plaintiff seeks declaratory or injunctive relief, as opposed to damages for injuries

already suffered, “the injury-in-fact requirement insists that a plaintiff ‘allege facts

from which it appears there is a substantial likelihood that he will suffer injury in

the future.’” Strickland v. Alexander, 772 F.3d 876, 883 (11th Cir. 2014) (quoting

Malowney v. Fed. Collection Deposit Grp., 193 F.3d 1342, 1346 (11th Cir. 1999)).

In ruling on a motion to dismiss for lack of standing, the court must accept as true

all material allegations of the complaint and construe them in the Plaintiffs’ favor.

Warth v. Seldin, 422 U.S. 501-02 (citations omitted). At the same time, it is within

the court’s power to consider by affidavits further particularized allegations of fact

deemed supportive of plaintiff’s standing to determine whether the plaintiff’s

standing adequately appears from all materials of record. Id. Here, the Court is

able to refer both to the Amended Complaints and a host of expert and other


                                          36
Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 15 of 24


       Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 37 of 52



affidavits in connection with Plaintiffs’ Motions for Preliminary Injunction relating

to the additional claims asserted in their Amended Complaints. The Court also can

draw on its knowledge of the record in the case as context. The question of whether

the Plaintiffs ultimately will prevail on the merits of their asserted claims is not the

question before the Court in assessing standing.

      As to injury in fact, Defendants contend that Plaintiffs are attempting to

bootstrap their way into standing for their BMD allegations by relying on their

previous claims about DREs. Defendants also contend that Plaintiffs have not

sufficiently alleged a concrete “injury in fact” because they “fail to allege that they

are under threat of suffering a prospective injury that is ‘real and immediate’

regarding Georgia’s new BMD voting system.” (Mot. at 25) (emphasis in original).

Specifically, Defendants assert that Plaintiffs’ allegations of generalized fear that

malicious activity might occur is insufficient to confer standing:

      Plaintiffs allege that that the BMDs “remain susceptible to
      manipulation,” are “vulnerable to intentional [and] unintentional
      forms of manipulation,” and that these vulnerabilities “could cause”
      BMDs to malfunction or improperly tabulate votes. Id. In sum,
      Plaintiffs’ injury allegations are that: (1) a malicious hacker might
      hack BMDs; (2) voters might not review the ballot; (3) the optical-
      scan unit might incorrectly count votes; (4) post-election audits of the
      ballot or an election challenge might not catch any errors.

(Id. at 26.) Defendants also argue that “Plaintiffs have complete control over

whether they are ‘injured’ because they can review their selections on their BMD-

marked paper ballot.” (Id.)




                                          37
 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 16 of 24


        Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 38 of 52



       These arguments mischaracterize the alleged injury. While voting security

issues obviously form an important context surrounding the operation of elections

and vote counts, the injury Plaintiffs allege is that they will be required to cast a

ballot that cannot be read or verified as reflecting their actual choices because the

votes are tabulated solely from an encrypted barcode that is not human readable.

This injury is not speculative; it is “certainly impending,” since Plaintiffs intend to

vote in person in each upcoming election in Georgia. Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 409 (2013).

       Contrary to Defendants’ characterizations, Plaintiffs’ allegations are not

solely premised on a theoretical and hypothetical possibility that the new BMD

voting system might be hacked or improperly accessed and manipulated. 20

Defendants’       motion      focuses     exclusively      on    allegations     about      security

vulnerabilities and the potential for hacking, which they claim only implicates

injuries that will be legally caused by nefarious third parties, instead of by the State.

The State does not address Plaintiffs’ other allegations, which assert that the

operation of the Dominion BMD System as designed will injure in-person voters

by depriving them of their fundamental right to cast a verifiable vote and have that

vote counted, and their right to be treated equally with similarly situated absentee




20 According to the Curling Plaintiffs, the BMD claims are legally identical to the DRE-related
claims that this Court previously ruled Plaintiffs have standing to pursue, and no new facts should
materially alter the Court’s standing analysis here. (Curling Pls.’ Resp., Doc. 651 at 18.) To be sure
though, the posture of Plaintiffs’ BMD claims is markedly different from the claims regarding
DREs.

                                                 38
 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 17 of 24


        Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 39 of 52



voters. 21 (Coalition Pls.’ Compl. ¶¶ 99–120, 129; Curling Pls.’ Compl. ¶¶ 70-90.) 22

Defendants ignore the fundamental basis of Plaintiffs’ claims – the allegation that

the Dominion system ballot scanner only tabulates votes from the encrypted

barcode that is indecipherable to the human eye.

       Plaintiffs allege that the BMD system’s reliance on a BMD generated

condensed summary of voter electoral choices in tandem with ballot counting

based on an unverified barcode does not provide a means by which completed

ballots can be accurately counted, tested, or verified, thereby depriving or


21 Plaintiffs each also assert equal protection violations based on allegations that by planning to

allow electors to vote using two different methods, the unverifiable BMD system and paper ballots
available to provisional and absentee voters that are verifiable and recountable, they are being
subject to unequal treatment. (Doc. 627 ¶¶ 124, 129) (“The voters of the respective ballots have
not been treated equally in that the votes of those who will vote using the Proposed Election
System cannot be meaningfully recounted, reviewed against an independent record to verify, or
have discrepancies detected and corrected. These votes are unequally weighted, with greater
weight given to those who vote by absentee paper ballot, whose votes can be verified as to voter
intent, can be accurately recounted, and can have processing errors identified and corrected, while
votes cast under the Proposed Election System, whose votes do not share those essential
advantages.”); (Doc. 628 ¶ 145) (“The Dominion BMD System deprives in-person voters of the
right to have their official votes audited that other voters enjoy.”); (Id. ¶ 231) (“Voters who are
similarly situated in all respects but who instead cast their votes on mailed paper ballots in the
same election will be treated differently and will suffer none of the foregoing burdens, risks, and
harms, including the inability to read and verify the votes they cast.”) The fact that an individual
Plaintiff could choose to vote by absentee ballot rather than voting in person using a BMD in order
to cast a ballot that is verifiable and auditable does not diminish standing to assert an equal
protection claim here. As Plaintiffs have alleged, voting by absentee ballot carries its own burdens,
ranging from the minimal cost of postage (without consideration of pandemic conditions) to
severe (the risk that a ballot is rejected for signature mismatch or is lost in the mail and never
received for counting by the elections office). Because Plaintiffs may have a preference for one
alternative method of voting over another does not destroy their standing to bring a claim
challenging the Defendants’ failure to provide uniform procedures for recounts and audits to both
in person and absentee voting. This Court recognized previously that “[t]he right to vote is
protected in more than the initial allocation of the franchise. Equal protection applies as well to
the manner of its exercise. Having once granted the right to vote on equal terms, the State may
not, by later arbitrary and disparate treatment, value one person’s vote over that of another.” See
Bush v. Gore, 531 U.S. 98, 105 (2000) (finding that application of different standards to determine
voter intent in conducting a recount led to the unequal evaluation of ballots).
22 Coalition Plaintiffs also separately allege that BMDs infringe their right to vote using a secret

ballot. (Coaltion Pls.’ Compl. ¶¶ 39–41, 121–28.)

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 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 18 of 24


        Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 40 of 52



burdening their voting franchise rights. (Curling Pls.’ Compl. ¶¶ 71-75, 89-90, 116,

125; Coalition Pls.’ Compl. ¶¶ 63, 66, 80, 82, 87, 88, 100, 103, 106, 203, 223;

Affidavit of Plaintiffs’ Expert Dr. Philip B. Stark at Doc. 680-1 23). And because the

State has yet to adopt and implement a post-election audit procedure to verify that

the barcode tabulations match the human-readable voter selections, voters cannot

verify that the votes they cast were the votes that were counted. (Coaltion Pls.’

Compl. ¶¶ 130-36, 142-47; Curling Pls.’ Compl. ¶¶ 89-90.)

       Plaintiffs separately allege, as they did with DREs, that their votes will “likely

be improperly counted” under the BMDs system due to security vulnerabilities that

have already been identified in the Dominion system and because of the Secretary

of State’s failure to act to address voting systemic vulnerabilities in its existing IT

infrastructure. Plaintiffs challenge the State Defendants’ implementation of a

barcode-based system with known and demonstrated vulnerabilities contrary to

the recommendations of voting system experts that is incapable of being properly

audited. These include: (i) the State of Texas’s refusal in February 2019 to certify

Dominion’s election management system based upon several problems with the

software, (ii) the 2019 DEFCON Voting Village Report that found twenty

vulnerabilities in a Dominion BMD system similar to the one being employed in

Georgia, (iii) the National Academy of Sciences warning that BMDs that print only



23 Dr. Stark’s affidavit discusses, among other things, the various reasons why “there is no way to
establish that the BMD printout is a trustworthy record of what the BMD displayed to the voter
or what the voter expressed to the BMD.” (Doc. 680-1 at 4.) His affidavit addresses in turn why
this makes a trustworthy, accurate full recount or audit of VMD votes cast not possible.

                                               40
 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 19 of 24


          Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 41 of 52



selections with abbreviated names/descriptions of the contests are virtually

unusable for verifying voter intent, (iv) the opinion of the State’s own retained

expert, Dr. Shamos, that if a BMD is going to be used, the more reliable approach

is to use a BMD that produces a ballot readable by a human voter, rather than a

barcode, and (v) the Secretary of State’s failure to remedy compromises in its

current voter registration and internal IT systems. (Curling Pls.’ Compl. ¶¶ 75-88;

see also Coalition Pls.’ Compl. ¶¶ 135, 176-186.) In sum, Plaintiffs allege that

despite the fact that cybersecurity experts and government officials recommended

a voting system that included a voter-verified paper trail, Georgia’s BMD System

will rely on a non-voter-verified barcode as the elector’s actual vote. 24 (Curling Pls.

Compl. ¶¶ 74-75; see also Coalition Pls.’ Compl. ¶¶ 164-175.)

       Accordingly, the Court finds that Plaintiffs’ allegations of the threat of

imminent harm are sufficient at this stage of the proceedings to establish injury to

their constitutional rights and demonstrate standing to proceed on their asserted

claims.

       Turning to the second standing element, “to satisfy the causation

requirement of standing, a plaintiff’s injury must be ‘fairly traceable to the

challenged action of the defendant, and not the result of the independent action of

some third party not before the court.’” Jacobson v. Florida Sec’y of State, 957 F.3d


24 Although Plaintiffs’ Complaints can be read as a criticism of the State of Georgia’s selection of

the BMD voting system over a hand-marked paper ballot system, the Court does not view
Plaintiffs’ claims as challenging the legislature’s passage of HB 316 itself as unconstitutional.
Rather, the Court views Plaintiffs as challenging the Secretary of State’s implementation of a
barcode-based BMD system for the reasons discussed herein.

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Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 20 of 24


       Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 42 of 52



1193, 1207 (11th Cir. 2020) (quoting Lujan, 504 U.S. at 560 (alterations adopted)).

Defendants assert that to the extent any injuries arise, they are the result of third-

party actions, not the actions of the State Defendants because “[t]he theoretical

hacking, potential auditing issues, and hypothetical bar-code problems could be

traced either to illegal hacking by third parties; improper conduct by election

officials; or voters’ failures to verify their paper ballots – not the State of Georgia’s

implementation of BMDs.” (Mot. at 27-28.) Defendants have essentially recycled

the same argument (with the exception of blaming the voters themselves)

previously raised in connection with Plaintiffs’ DRE claims. The same reasoning

applies to reject this argument now.

      Again, Plaintiffs’ injury stems from Defendants’ implementation of an

alleged unconstitutional voting system that is subject to the same demonstrated

vulnerabilities as the DREs and that is not a voter-verifiable and auditable paper

ballot system. Pursuant to H.B. 316 mandating the statewide use of “electronic

ballot markers [that] shall produce paper ballots which are marked with the

elector’s choices in a format readable by the elector,” Georgia’s new Election Code

placed the responsibility of selecting the equipment for the new voting system with

the Secretary of State. See O.C.G.A. § 21–2–300(a). The law expressly requires

that the “equipment used for casting and counting votes in county, state, and

federal elections shall be the same in each county of this state and shall be

provided to each county by the state, as determined by the Secretary

of State.” O.C.G.A. § 21–2–300(a)(1) (emphasis added). The Election Code


                                           42
Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 21 of 24


       Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 43 of 52



further requires the Secretary of State to certify the new BMD voting system as

“safe and practicable for use” in compliance with the Rules of the Georgia State

Election Board prior to authorizing its implementation in state, federal, and county

elections in the State. O.C.G.A. § 21–2–300(a)(2); see also Ga. Comp. R. & Reg. r.

590–8–1–.01(d). The Election Code also tasks the Georgia State Election Board

with promulgating rules and regulations governing audit procedures and requires

that “[t]he procedures prescribed by the State Election Board shall include security

procedures to ensure that collection of validly cast ballots is complete, accurate,

and trustworthy throughout the audit.” O.C.G.A. § 21-2-498(b)&(d).

      Plaintiffs challenge the actions of the Secretary of State and the State

Election Board, not some potential absent third party hackers. Plaintiffs allege that

State Defendants ignored the recommendations of election security experts to

ensure that a proper audit regime was in place to verify the State’s voting machine

election results. And Plaintiffs allege that in implementing a mandatory statewide

electronic barcode-based voting system without current or sufficient audit

protocols in place in upcoming elections, Defendants are requiring Plaintiffs to

exercise their right to vote using a system incapable of producing verifiable results.

(See, e.g., Curling Pls.’ Compl. ¶¶ 89-90, 117; Coalition Pls.’ Compl. ¶¶ 130, 135,

137, 145-47.) They also allege that the Secretary of State’s failure to act to address

the security and reliability vulnerabilities in its voting data systems and

infrastructure over a sustained period of time continues to pose threats in

implementation of the new BMD system. (Curling Pls.’ Compl. ¶¶ 34-90; Coalition


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Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 22 of 24


         Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 44 of 52



Pls.’ Compl. ¶¶ 176-186.) The Coalition Plaintiffs further allege that the Secretary

of State failed to properly certify the new BMD machines as required under HB 316

prior to their use in Georgia elections, and failed to test “whether the operation of

the system would permit valid auditing of the results.” (Coalition Pls.’ Compl. ¶¶

155-63.) At the motion to dismiss stage, these allegations are sufficient to show a

causal     connection,   even    if   arguably   indirectly,   between     Defendants’

implementation of the BMD system and the injury to Plaintiffs’ constitutional

rights. Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263,

1273 (11th Cir. 2003) (“[E]ven harms that flow indirectly from the action in

question can be said to be ‘fairly traceable’ to that action . . . .”); Lewis v. Governor

of Alabama, 944 F.3d 1287, 1301 (11th Cir. 2019) (“it must be the effect of the

court’s judgment on the defendant” – not an absent third party – “that redresses

the plaintiff’s injury, whether directly or indirectly”).

         Finally, State Defendants argue that “Plaintiffs also cannot show

redressability, because the same concerns allegedly associated with BMDs (lack of

audits, hacking, and interference from election officials) are present in Plaintiffs’

requested relief” of hand marked paper ballots. (Mot. at 37). As this Court

previously indicated in its September 15, 2019 Order rejecting Defendants’

argument that Plaintiffs’ claims are not redressable because “no election system is

flawless,” this is not the standard for redressability. Curling, 334 F. Supp. 3d at

1318. Plaintiffs are seeking relief to address a particular voting system which they

allege, as designed or as implemented by Defendants, burdens Plaintiffs’ capacity


                                           44
 Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 23 of 24


        Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 45 of 52



to cast votes that are actually properly counted and fails to produce a voter-

verifiable auditable paper trail that is recognized as essential on a national level by

election security experts. “Plaintiffs are not asking for a system impervious to all

flaws or glitches.” Id. They are seeking to vindicate their right to effectively and

reliably cast a verifiable vote reflective of their ballot choices.

       In sum, the Court finds that Plaintiffs have sufficiently alleged standing to

bring their claims at this juncture.

       D.      Coalition Plaintiffs Have Failed to State a Claim for
               Procedural Due Process Regarding the BMD Voting System

       Defendants moved to dismiss Count III of Coalition Plaintiffs’ First

Supplemental Complaint 25 because: (i) Coalition Plaintiffs have failed to

sufficiently allege the deprivation of a constitutionally protected liberty or property

interest, (ii) the complaint does not allege that Plaintiffs have been subjected to

inadequate process; and (iii) the availability of a state remedy necessarily prevents

Plaintiffs from maintaining a procedural due process claim as a matter of law.

Alternatively, Defendants also argue that “even assuming a liberty or property

interest existed for a preferred voting system, there is no deprivation of that

interest, given the State’s no-excuse absentee voting system by hand-marked paper

ballots.” 26 (Defs.’ Mot., Doc. 645 at 21.)


25 The Curling Plaintiffs do not assert a procedural due process claim. (Curling Resp., Doc. 651 at

29.)
26 The Court rejected this argument raised in connection with Plaintiffs’ substantive due process

claims raised in the Defendants’ prior motion to dismiss. The Court found that the “choice”
between undergoing additional burdens on their right to vote by absentee ballot to avoid having
to use unsecure voting machines was itself a burden that Plaintiffs had plausibly alleged subjected

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Case 1:17-cv-02989-AT Document 1630-1 Filed 02/13/23 Page 24 of 24


       Case 1:17-cv-02989-AT Document 751 Filed 07/30/20 Page 52 of 52



III.   CONCLUSION

       For the foregoing reasons, the Court GRANTS IN PART and DENIES IN

PART Defendants’ Motion to Dismiss the Curling Plaintiffs’ Third Amended

Complaint and the Coalition Plaintiffs’ First Supplemental Complaint [Doc. 645].

The Motion to Dismiss is GRANTED as to Count V of the Curling Plaintiffs’ Third

Amended Complaint and Count III of the Coalition Plaintiffs’ First Supplemental

Complaint and those claims are DISMISSED WITHOUT PREJUDICE. The

motion is DENIED in all other respects.

       The Court AUTHORIZES discovery on these claims to begin immediately

upon entry of this Order. Finally, the Court DIRECTS Defendants to file a

response to Plaintiff’s proposal on the scope and schedule for expedited discovery

on Monday, August 3, 2020.

       IT IS SO ORDERED this 30th day of July, 2020.




                                     _____________________
                                     Amy Totenberg
                                     United States District Judge




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